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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                MIDDLE DIVISION


 UNITED STATES OF AMERICA,                          }
                                                    }
 v.                                                 }   Case No.: 4:18-CR-235-RDP-SGC-1
                                                    }
 JEFFERY JAMES STONE,                               }
                                                    }
        Defendant.                                  }


                         MEMORANDUM OPINION AND ORDER

       This matter is before the court on Defendant Jeffery James Stone’s Motion for

Compassionate Release/Sentence Reduction pursuant to 18 U.S.C. § 3582(c)(1)(A) and for

Appointment of Counsel. (Doc. # 28).

I.     Background

       On August 27, 2018, Stone pleaded guilty to two counts: (1) Possession with Intent to

Distribute Methamphetamine in violation of 21 U.S.C. § 841(a)(1), and (2) Possession of Firearm

in Furtherance of Drug-Trafficking Crime in violation of 18 U.S.C. § 924(c)(1)(A)(i). (Docs. # 14,

17, 27). On January 11, 2019, Stone was sentenced to be imprisoned for a total term of one hundred

twenty-seven (127) months: ninety-seven (97) months as to Count 1, plus a consecutive thirty (30)

months as to Count 2. (Docs. # 25 at 2, 27 at 2).

       Stone asserts that, on April 18, 2020, he filed a request with the warden of FCI Talladega

(presumably for compassionate release under § 3582), and that over 30 days had elapsed without

a response before he filed his current Motion. (Doc. # 28 at 2).

       Stone’s “argument is based primarily on extraordinary and compelling reasons for sentence

reduction due to [his] pre-existing medical condition during this COVID-19 pandemic.” (Doc. #
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29 at 2). Stone is 39-years old. He suffers from Immotile Cilia syndrome. (Docs. # 23 at 25, 28 at

1). Primary ciliary dyskinesia, of which Immotile Cilia syndrome is a type, is a disorder

characterized by chronic respiratory tract infections.1 Stone reported, and his father has

corroborated, that he was in an oxygen tent until he was three years old. (Doc. # 23 at 25).

However, he also reported that, as an adult, he has had a history of mixed martial arts fighting.

(Id.).

         Stone is currently an inmate at FCI Talladega, which houses 823 inmates.2 FCI Talladega

currently has seven inmates and seven staff with active COVID-19 cases. Sixteen inmates and

seven staff have recovered from COVID-19.3

II.      Legal Standard

         Pursuant to 18 U.S.C. § 3582(b), a judgment of conviction that includes a sentence of

imprisonment “constitutes a final judgment and may not be modified by a district court except in

limited circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010) (internal quotations

omitted). The exception in 18 U.S.C. § 3582(c)(1)(A) provides that, when a defendant has

exhausted his or her administrative remedies, the court may exercise its discretion to reduce the

term of imprisonment after considering the factors set forth in 18 U.S.C. § 3553(a) if 1)

extraordinary and compelling reasons warrant such a reduction and 2) such a reduction is

consistent with applicable policy statements. United States v. Smith, 2020 WL 2512883, at *2

(M.D. Fla. May 15, 2020). “The defendant generally bears the burden of establishing that




         1
             https://ghr.nlm.nih.gov/condition/primary-ciliary-dyskinesia
         2
             https://www.bop.gov/mobile/find_inmate/byname.jsp#inmate_results
         3
             https://www.bop.gov/coronavirus/
                                                            2
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compassionate release is warranted.” Id. (citing United States v. Hamilton, 715 F.3d 328, 337 (11th

Cir. 2013)).

III.   Analysis

       Stone argues that the spread of COVID-19, in combination with his underlying medical

conditions, presents an extraordinary and compelling reason justifying his release. (Docs. # 28 and

29).

       Compassionate-release motions arise under 18 U.S.C. § 3582(c)(1)(A)(i), which states:

       The court may not modify a term of imprisonment once it has been imposed except
       that . . . the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all administrative
       rights to appeal a failure of the Bureau of Prisons to bring a motion on the
       defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment (and may impose a term of probation or supervised release with or
       without conditions that does not exceed the unserved portion of the original term
       of imprisonment), after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that . . . extraordinary and compelling
       reasons warrant such a reduction . . . and that such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission[.]

       A.      Administrative Exhaustion Requirement

       A district court is not free to modify a term of imprisonment once it has been imposed,

except in two circumstances: upon motion of the Director of the BOP; or upon motion by a

defendant, after he has fully exhausted all administrative rights to appeal a failure of the BOP to

bring a motion on his behalf, or 30 days has elapsed from receipt of such a request by the Warden

of the defendant’s facility, whichever is earlier. 18 U.S.C. § 3582(c)(1)(A); see also United States

v. Celedon, 353 F. App’x 278, 280 (11th Cir. 2009).

       After reviewing the applicable law and facts asserted here, the court finds that Stone

appears to have satisfied the compassionate release statute’s 30-day exhaustion requirement. He

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filed his Motion on June 22, 2020. (Doc. # 28). At that time, more than 30 days have lapsed since

Stone made his April 18, 2020 request to the Warden to file a motion for compassionate release

due to COVID-19 on his behalf, apparently without a response from the Warden. (Doc. # 28 at 2).

As such, Stone appears to have satisfied the compassionate release statute’s 30-day exhaustion

requirement.

       B.      Section 3553(a) Factors and Extraordinary and Compelling Reasons

       Although Stone has demonstrated that he satisfied the statute’s exhaustion requirement, the

question still remains whether, “considering the factors set forth in [§] 3553(a),” “extraordinary

and compelling reasons warrant” a reduction in his sentence, “consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i).

       United States Sentencing Guideline § 1B1.13 is the applicable policy statement related to

compassionate release. That section, which was adopted before Congress authorized a defendant

to seek relief under § 3582(c) on his own behalf, essentially reiterates the requirements of §

3582(c)(1)(A), with the additional requirement that a defendant “not be a danger to the safety of

any other person or to the community.” U.S.S.G. § 1B1.13(2). The application notes to § 1B1.13

provide examples of extraordinary and compelling reasons to grant a compassionate release. In

particular, Application Note 1 states:

       Provided the defendant [is not a danger to the safety of any other person or to the
       community], extraordinary and compelling reasons exist under any of the
       circumstances set forth below:

       (A) Medical Condition of the Defendant --

               (i) The defendant is suffering from a terminal illness[.]

               (ii) The defendant is [suffering from a health condition] that substantially
               diminishes the ability of the defendant to provide self-care within the

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               environment of a correctional facility and from which he or she is not
               expected to recover.

       (B) Age of the Defendant -- The defendant (i) is at least 65 years old; (ii) is
       experiencing a serious deterioration in physical or mental health because of the
       aging process; and (iii) has served at least 10 years or 75 percent of his or her term
       of imprisonment, whichever is less.

       (C) Family Circumstances --

               (i) The death or incapacitation of the caregiver of the defendant’s minor
               child or minor children.

               (ii) The incapacitation of the defendant’s spouse or registered partner when
               the defendant would be the only available caregiver for the spouse or
               registered partner.

       (D) Other reasons -- As determined by the Director of the Bureau of Prisons, there
       exists in the defendant’s case an extraordinary and compelling reason other than,
       or in combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13, Application Note 1. As noted, the basis for compassionate release must be

“consistent with” this policy statement. 18 U.S.C. § 3582(c)(1)(A)(i).

       Application Note 1(A)(i) applies to terminal illnesses. Application Note 1(A)(ii) applies to

conditions that “substantially diminish[] the ability of the defendant to provide self-care within the

environment of a correctional facility” and from which an inmate “is not expected to recover.”

U.S.S.G. § 1B1.13, Application Note 1. There is no record evidence supporting either requirement

here. Although Stone has requested the opportunity to submit past medical records, those records

are not relevant to the court’s current inquiry. Stone states that he is “currently serving [his] third

year of a 12 year sentence for methamphetamine.” (Doc. # 28). Thus, the relevant medical records

would be ones indicating either that he currently has a terminal illness or that he is unable to care

for himself while in prison. Rather, he has stated that his concern is that, because of his Immotile

Cilia syndrome, he is “highly susceptible, vulnerable and at high risk for COVID-19.” (Doc. # 28


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at 1-2). However, that susceptibility does not present the “extraordinary and compelling reasons

warrant[ing a sentence] reduction.” 18 U.S.C. § 3582(c)(1)(A)(i).

        Even if extraordinary and compelling reasons existed, the guideline factors at § 1B1.13 and

the statutory factors at § 3553(a) weigh against compassionate release in Stone’s case. To begin,

§ 1B1.13(2) – which § 3582(c) incorporates – states that a sentence may be reduced only when

“[t]he defendant is not a danger to the safety of any other person or to the community, as provided

in 18 U.S.C. § 3142(g).”

        Starting with recidivism, the Pre-Sentence Investigation Report (“PSR”) indicates that

Stone has an extensive criminal history. (Doc. # 23). Not even counting his juvenile offenses, he

has 19 prior arrests. (Id.). Although most of those 19 arrests were not for serious offenses, his

criminal history clearly indicates that there is a risk of recidivism.

        As to whether Stone’s offenses were non-violent, § 1B1.13(2) incorporates by reference

18 U.S.C. § 3142(g), which provides factors to determine whether a person is a “danger to the

safety of any other person or the community.” Among those factors is whether the defendant

possessed a firearm; whether the offense involved a controlled substance; and whether, at the time

of the current offense, the person was on probation, parole, or other release pending completion of

a sentence. 18 U.S.C. § 3142(g). The offense which resulted in Stone’s current incarceration

involved a number of controlled substances. He was arrested with a stolen pistol, and a rifle was

later found in the room where he was staying. (Doc. # 14 at 3-4). Therefore, Stone poses a danger

to the community.4


         4
           Some courts have concluded that the term “safety of the community” refers “not only to the mere danger of
physical violence but also to the danger that the defendant might engage in criminal activity to the community’s
detriment.” United States v. Mackie, 876 F. Supp. 1489, 1491 (E.D. La. 1994) (reviewing same phrase in 18 U.S.C. §
3148, which, like 1B1.13 incorporates § 3142(g)). That is certainly the case with drug crimes.
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       Finally, Stone has served less than half of his ten-and-a-half-year term of incarceration. So,

in contrast to cases in which courts have granted compassionate release during the COVID-19

pandemic, Stone has served only a fraction of his sentence to date. To reduce Stone’s sentence as

requested would diminish his transgressions and undermine the goals of the original sentence,

among them, the need to dispense adequate punishment for defendant’s multiple acts throughout

his criminal career and to deter others from emulating his behavior.

IV.    Conclusion

       Having considered all of the materials submitted to the court, Stone’s Motion for

Compassionate Release/Sentence Reduction pursuant to 18 U.S.C. § 3582(c)(1)(A) and for

Appointment of Counsel. (Doc. # 28) is DENIED.

       DONE and ORDERED this September 15, 2020.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE




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